       CASE 0:20-cv-01319-JRT-HB Document 29 Filed 07/17/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

HOWARD B. SAMUELS, solely as
chapter 7 trustee of the estates of
CENTRAL GROCERS, INC., STRACK
AND VAN TIL SUPER MARKET, INC.
AND SVT, LLC,

      Plaintiffs,
                                                     Case No. 0:20-cv-01319 (JRT/HB)
       v.

CARGILL, INC., JBS USA FOOD
COMPANY HOLDINGS, NATIONAL
BEEF PACKING COMPANY, TYSON
FOODS, INC.,

      Defendants.


DECLARATION OF KARL L. CAMBRONNE IN SUPPORT OF DIRECT PURCHASER
     PLAINTIFF’S MOTION TO APPOINT INTERIM CO-LEAD COUNSEL

I, Karl L. Cambronne, declare as follows:

       1.      I am a senior partner at the law firm Chestnut Cambronne PA and am licensed to

practice law in the Sate of Minnesota. I am attorney of record for Plaintiff Howard B. Samuels,

solely as chapter 7 trustee of the estates of Central Grocers, Inc., Strack and Van Til Super

Market, Inc. and SVT, LLC, in the above-captioned matter.

       2.      I submit this declaration in support of the accompanying Motion of Direct

Purchaser Plaintiff to Appoint Interim Co-Lead Counsel. I have personal knowledge of the facts

in this declaration and could competently testify to them if called as a witness.

       3.      Attached hereto as Exhibit A is a proposed letter establishing a time and expense

reporting protocol for all Direct Purchaser Plaintiffs’ Counsel.


                                                 1
       CASE 0:20-cv-01319-JRT-HB Document 29 Filed 07/17/20 Page 2 of 2




       4.       Attached hereto as Exhibit B is a true and correct copy of the firm resume for

Chestnut Cambronne PA.

       5.       Attached hereto as Exhibit C is a true and correct copy of the firm resume for

Hartley LLP.

       6.       Attached hereto as Exhibit D is a true and correct copy of the firm resume for

Freed Kanner London & Millen LLC.

       7.       Attached hereto as Exhibit E is a true and correct copy of the firm resume for

Hausfeld LLP.



Executed on July 17, 2020, at Minneapolis, Minnesota.

                                                          /s/ Karl L. Cambronne
                                                          Karl L. Cambronne




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